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UN|TED STATES D|STR|CT COURT
WESTERN D|STR|CT OF TENNESSEE

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UN|TED STATES OF AMERICA w 2* 38
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-v- 2:04CR20455-01-M| H/,@ (;.F;' ij ;;`§F_';»¢VCQRT
’ » xi 3
JONNETTA HAMMOND

Stephen A. Sauerl CJA
Defense Attorney

200 Jefferson Avenue, #1500
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Of‘fenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 and 2 of the indictment on March 3, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & section MME§M Offense M§l
Concluded
18 U.S.C. § 1708 Theft of Stolen Mai| Matter 08/09/2004 1
18 U.S.C. § 513(3) Possession of Forged Security of an 08/10/2004 2

Organization

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |V|andatory
Victims Restitution Act of 1996.

Counts 3 through 5 dismissed on the motion of the United States.

lT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 11/29/1970 July 20, 2005
Deft's U.S. Marsha| No.: 20032-076

Defendant’s Mailing Address:
1598 Pend|eton Street
Memphis, TN 38114

/Q .
JON PH|PPS MCCALLA
|T STATES DISTR|CT JUDGE

Ju|y §§ , 2005

Tnls document entered on the docket sheet ln compliance
with Fiula 35 and/or 32(b) FHCrP on J/ ' j

 

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lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 14 Months (or 1 Year and 2 Months) as to Count
1 and 14 Months (or 1 Year and 2 Months) as to Count 2. Counts 1 and 2 are to be
served concurrently with each other for a total term of incarceration of 14 Months (or
1 Year and 2 Months).

The Court recommends to the Bureau of Prisons: the defendant be incarcerated
at a facility near the Mid-South area.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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SUPERViSED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 Years as to Count 1 and 3 Years as to Count 2. Counts 1 and 2 are to be
supervised concurrently with each other for a total term of supervision of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation ofhcer;

2. The defendant shall report to the probation cincer as directed by the court or probation officer and shall
submit a truthful and complete written report within the nrst five days of each month;

3. The defendant shali answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooiing. training, or other acceptable reasons;

5. The defendant shall notify the probation ofhcer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess. use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shail not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofticer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation oft”lcer;

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10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ofhcer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a iaw
enforcement agency without the permission of the court;

12. As directed by the probation ofticer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement.

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such Hne or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment,

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1 . The defendant shall provide third-party risk notification, including notification to an licensing
board and her present employerl Saint Francis Hospital.

2. The defendant shail cooperate with DNA collection as directed by the Probation Oche.

3. The defendant shall make full financial disclosure.

4. The defendant shall submit to mental health testing and mental health treatment programs
as directed by the Probatlon Oftice.

5. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythefollowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$200.00 $4,994.48

The Specia| Assessment shall be due immediately.

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F|NE
No fine imposed.
RESTITUT|ON

Restitution in the amount of $4,994.48 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority
Total Amount of Order
Name of pa!!ee Amount Restitution Ordered or
of Loss Percentage
w

Trustmark Nationa| Bank, $4,994.48 $4,994.48
Attn: Wil|iam Toombs, Fraud
lnvestigator/Security
Department

248 E. Capitol Street
Jackson, MS 39201

|f the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenrvise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income. Addltionally, the interest requirement is waived .

Unless the court has expressly ordered othenrvise in the special instructions above, if thisjudgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court, unless othenrvise directed by the court, the probation officer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed

   

UNITED sTATE DRISTIC COURT - WTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CR-20455 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

Valeria Rae Oliver

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Ste. 800

Memphis7 TN 38103

Stephen A. Sauer

LAW OFFICE OF STEPHEN A. SAUER
8 S. Third St.

4th Floor

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

